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                                   3                                 UNITED STATES DISTRICT COURT

                                   4                                NORTHERN DISTRICT OF CALIFORNIA

                                   5                                         SAN JOSE DIVISION

                                   6

                                   7    TESSERA, INC.,                                     Case No. 15-cv-02543-BLF
                                   8                   Plaintiff,
                                                                                           ORDER REQUIRING STATUS UPDATE
                                   9            v.

                                  10    TOSHIBA CORPORATION,
                                  11                   Defendant.

                                  12
Northern District of California
 United States District Court




                                  13          This case was stayed pending the outcome of the appeal before the Ninth Circuit.

                                  14   ECF 330. On April 14, 2017, the parties submitted a status report stating that the Ninth Circuit set

                                  15   a briefing schedule. ECF 341. The parties are directed to jointly submit a status update within

                                  16   thirty (30) days of the Ninth Circuit’s decision on the pending appeal.

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                                  18          IT IS SO ORDERED.

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                                  20   Dated: August 14, 2018

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                                                                                       BETH LABSON FREEMAN
                                  22                                                   United States District Judge
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